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13    Attorneys for Plaintiff Edwardo Munoz
      and the Class and Subclass
14
                            UNITED STATES DISTRICT COURT
15
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17     Edwardo Munoz, individually and on           Case No. 2:18-cv-03893-RGK-AGR
       behalf of all others similarly situated,
18
                                 Plaintiff,
19                                                  FIRST AMENDED
             v.                                     CLASS ACTION COMPLAINT
20
       7-Eleven, Inc., a Texas corporation,
21
                                 Defendant.         JURY TRIAL DEMANDED
22
23
24          Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) brings this first amended
25    class action complaint against Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”)
26    to obtain redress for, and put an end to, Defendant’s serial violations of the Fair
27    Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA” or “Act”), specifically its
28
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  1   failure to provide lawful notices and disclosures to its job applicants and employees
  2   as well as such other relief as this Court deems necessary and just. Plaintiff, for his
  3   First Amended Class Action Complaint, alleges as follows upon personal knowledge
  4   as to himself and his own acts and experiences, and, as to all other matters, upon
  5   information and belief, including investigation conducted by his attorneys.
  6                                NATURE OF THE ACTION
  7           1.   Enacted to promote the accuracy, fairness, and privacy of consumer
  8   information contained in the files of consumer reporting agencies, the FCRA
  9   explicitly protects job applicants and existing employees from adverse employment
10    action taken as a result of potentially inaccurate or immaterial information. To that
11    end, employers who obtain and use consumer reports regarding their applicants and
12    employees are required to provide: (1) clear and conspicuous disclosures, in a
13    document consisting solely of the disclosure (i.e., that stands alone), prior to
14    obtaining consumer reports in the first place, and (2) copies of the reports they
15    obtain, together with a written summary of rights under the Act, prior to taking any
16    adverse employment action against the applicants/employees based on information
17    contained in such reports.
18            2.   Defendant willfully violates the FCRA by failing to provide a clear and
19    conspicuous or standalone upfront disclosure that Defendant may procure consumer
20    reports about its applicants and employees prior to procuring consumer reports about
21    them.
22            3.   Consumer reports and investigative consumer reports, while both being
23    types of consumer reports, are not one in the same. They are subject to distinct
24    disclosure requirements. When an employer procures a standard "consumer report"
25    regarding an applicant, it must provide a clear and conspicuous disclosure that stands
26    alone pursuant to Section 1681b(b)(2); however, when an employer procures an
27    investigative consumer report (an invasive type of consumer report that features
28    interviews with a multitude of potential sources) regarding an applicant it must
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  1   comply with the disclosure requirements of both Section 1681b(b)(2) and Section
  2   1681d(a)-(b). (See, e.g., Advisory Opinion to Beaudette, available at
  3   https://www.ftc.gov/policy/advisory-opinions/advisory-opinion-beaudette-06-09-98.)
  4         4.     To comply with both provisions, the FTC has made clear that an
  5   employer cannot include the required Section 1681d(b) disclosures with the Section
  6   1681b(b)(2)(A) disclosure because doing so overshadows the latter disclosure and,
  7   thus, violates Section 1681b(b)(2)(A)’s requirement that the disclosure be clear and
  8   conspicuous and “in a document that consists solely of the disclosure.” (See, e.g.,
  9   FTC Advisory Opinion to Willner, available at https://www.ftc.gov/policy/advisory-
10    opinions/advisory-opinion-willner-03-25-99.)
11          5.     In 7-Eleven’s case, 7-Eleven fails to provide its applicants or employees
12    with a standalone disclosure and authorization that clearly and conspicuously
13    indicates in a document consisting solely of the disclosure that Defendant may
14    obtain a consumer report about them for employment purposes. First, Defendant
15    provides a single disclosure combining both the disclosure required for a standard
16    consumer report as well as disclosures required for an investigative consumer report,
17    including details regarding the nature and scope of any investigation such that the
18    disclosure overwhelms the consumer report disclosure. The disclosure and
19    authorization also contain additional extraneous information about Sterling Talent
20    Solutions and summaries of FCRA rights, as well as additional language purporting
21    to authorize the preparation of reports by Sterling Talent Solutions. The
22    authorization also purports to give consent to any party or agency contacted by 7-
23    Eleven, Inc. to furnish information to it, and contains acknowledgements that the
24    consumer has read and understood the disclosure and that they may have any
25    employment offer revoked if "unacceptable information is found in an investigative
26    background inquiry or consumer report. (See Disclosure & Authorization, a true and
27    accurate copy of which is attached hereto as Ex. A.) The disclosure cannot be
28    considered standalone.
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  1         6.     The inclusion of such extraneous information and the overshadowing of
  2   the consumer report disclosure rendered the disclosure confusing to Plaintiff and
  3   other class members. By including combined disclosures, it is unclear as to whether
  4   7-Eleven intends to procure a standard consumer report, an investigative consumer
  5   report, or both. This lack of clarity frustrates the purpose of the FCRA, which is to
  6   inform consumers and allow them a meaningful opportunity to authorize such
  7   disclosures. Indeed, had a lawful disclosure been provided Plaintiff and others would
  8   not have signed it.
  9         7.     As a result of Defendant’s willful violations of the FCRA, employees
10    and applicants such as Plaintiff Munoz are deprived of rights, including privacy
11    rights guaranteed to them by federal law, and are thus entitled to statutory damages
12    of at least $100 and not more than $1,000 for each violation. See 15 U.S.C. §
13    1681n(a)(1)(A).
14                                          PARTIES
15          8.     Plaintiff Munoz is a natural person and citizen of the State of California.
16    He resides in Merced, Merced County, California.
17          9.     Defendant 7-Eleven is a Texas corporation with its principal place of
18    business located at 3200 Hackberry Rd. Irving, TX 75063-0131.
19                              JURISDICTION AND VENUE
20          10.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331
21    because this action arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
22    seq., which is a federal statute. Furthermore, jurisdiction is proper under the Class
23    Action Fairness Act, 28 U.S.C. § 1332(d), et seq. (“CAFA”), because the class
24    consists of over 100 people, at least one member of the class is from a State other
25    than Texas (the state of the Defendant), and the amounts in controversy are over
26    $5,000,000. Further, none of the exceptions to CAFA jurisdiction apply.
27
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  1         11.    This Court has personal jurisdiction over Defendant because it conducts
  2   substantial business in this District and the unlawful conduct alleged in the
  3   Complaint emanated from this District.
  4         12.    Venue is proper in this District under 28 U.S.C. § 1391 because a
  5   substantial part of the events and omissions giving rise to the claims occurred in the
  6   District. Plaintiff was hired at a 7-Eleven location in Los Angeles, California and
  7   worked there for a month prior to being terminated based on information contained
  8   in a background check obtained about him in relation to his employment.
  9               FACTS COMMON TO PLAINTIFF AND ALL COUNTS
10          13.    7-Eleven is a corporation based in Irving, Texas.
11          14.    In or around January 2018, Plaintiff applied for a job with 7-Eleven at a
12    store in Los Angeles, California.
13          15.    In or around January 2018, Plaintiff was required to complete various
14    acknowledgments of company disclosures including a disclosure regarding
15    Plaintiff’s background and criminal history.
16          16.    Rather than provide a standalone disclosure—as the FCRA requires—
17    Plaintiff was presented with a document entitled “Disclosure Regarding Background
18    Investigation,” which included the disclosures for both a consumer report and an
19    investigative consumer report, including details regarding the nature and scope of
20    any investigation, together with other extraneous information, including details about
21    Sterling Talent Solutions and its privacy policy, acknowledgements that documents
22    have been received and reviewed and that the signer understands that by signing they
23    may have an offer revoked, and an authorization purporting to grant “any party or
24    agency contacted by 7-Eleven, Inc.” to furnish whatever information 7-Eleven
25    requests. (See Ex. A.)
26          17.    The unnecessary inclusion of such extraneous information rendered the
27    document confusing to Plaintiff and the average consumer. That is, because 7-Eleven
28    fails to provide a clear and conspicuous disclosure in a document consisting solely of
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  1   the disclosure as required by the FCRA, Plaintiff was unable to meaningfully
  2   authorize the report, or reports, that 7-Eleven intended to procure about him. Plaintiff
  3   would not have authorized the background check had a lawful disclosure been
  4   provided.
  5         18.    Plaintiff was employed by 7-Eleven for approximately one month,
  6   starting January 26, 2018.
  7         19.    On or around February 21, 2018, 7-Eleven terminated Plaintiff based on
  8   information contained in the background check it had procured regarding Plaintiff.
  9         20.    Defendant—by failing to provide lawful disclosures to applicants and
10    employees, including Plaintiff—has willfully denied Plaintiff the rights guaranteed
11    to him by the FCRA. Such violations entitle him, and other similarly situated, to
12    statutory damages of not less than $100 and not more than $1,000 per violation.
13                            CLASS ACTION ALLEGATIONS
14          21.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
15    23(b)(2) and Rule 23(b)(3) on behalf of himself, a nationwide Class, and a California
16    Subclass defined as follows:
17          Disclosure Class: All persons in the United States who (1) from a date
            two years prior to the filing of the initial complaint in this action to the
18
            date notice is sent to the Disclosure Class; (2) applied for employment
19          with Defendant; (3) about whom Defendant procured a consumer
20          report; and (4) who were provided the same form FCRA disclosure and
            authorization as the disclosure and authorization form Defendant
21          provided to Plaintiff.
22          California Subclass: All members of the Disclosure Class who reside
            in California.
23
            22.    Excluded from the Class and Subclass are (1) Defendant, Defendant’s
24
      agents, subsidiaries, parents, successors, predecessors, and any entity in which
25
      Defendant or its parents have a controlling interest, and those entities’ officers and
26
      directors, (2) the Judge or Magistrate Judge to whom this case is assigned and the
27
      Judge’s or Magistrate Judge’s immediate family, (3) persons who execute and file a
28
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  1   timely request for exclusion, (4) persons who have had their claims in this matter
  2   finally adjudicated and/or otherwise released, and (5) the legal representatives,
  3   successors, and assigns of any such excluded person. Plaintiff anticipates the need to
  4   amend the Complaint following a reasonable period for class discovery.
  5         23.    Numerosity: The exact numbers of the members of the Class and
  6   Subclass are unknown to Plaintiff at this time, but it is clear that individual joinder is
  7   impracticable. Defendant has thousands of employees and potentially an even greater
  8   number of job applicants. Further, the Class and Subclass members can readily be
  9   ascertained through Defendant’s records and the records of Sterling Talent Solutions.
10          24.    Commonality: Common questions of law and fact exist as to all
11    members of the Class and Subclass for which this proceeding will provide common
12    answers in a single stroke based upon common evidence, including:
13          (a)    Whether Defendant’s conduct described herein violated the FCRA;
14          (b)    Whether Defendant has procured or caused to be procured consumer
15                 reports about job applicants and employees;
16          (c)    Whether Defendant’s disclosure violates the FCRA’s requirement that
17                 the pre-report disclosure be clear and conspicuous in a document
18                 consisting solely of the disclosure;
19          (d)    Whether Defendant has acted willfully;
20          (e)    And for the Subclass the proper measure of statutory damages and the
21                 availability and appropriateness of declaratory and injunctive relief.
22          25.    Typicality: As a result of Defendant’s uniform disclosures and conduct,
23    Plaintiff and the Class and Subclass members suffered the same injury and similar
24    damages. If the disclosure violated the FCRA as to Plaintiff, then it violated the
25    FCRA as to all job applicants and employees. Thus, Plaintiff’s claims are typical of
26    the claims of the other Class and Subclass members.
27          26.    Adequate Representation: Plaintiff is a member of the Class and
28    Subclass and both he and his counsel will fairly and adequately represent and protect
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  1   the interests of the Class and Subclass, as neither has interests adverse to those of the
  2   Class and Subclass members and Defendant has no defenses unique to Plaintiff. In
  3   addition, Plaintiff has retained counsel competent and experienced in complex
  4   litigation and class actions. Further, Plaintiff and his counsel are committed to
  5   vigorously prosecuting this action on behalf of the members of the Class and
  6   Subclass, and they have the financial resources to do so.
  7         27.    Conduct Similar Towards Class Members: In using uniform
  8   disclosures that violate the FCRA, Defendant has acted or refused to act on grounds
  9   generally applicable to Subclass so as to render injunctive and declaratory relief
10    appropriate under the California Unfair Competition Law ("UCL") Cal. Bus. & Prof.
11    Code § 17200 et seq. For the Subclass members, Defendant’s uniform conduct
12    requires the Court’s imposition of uniform relief to ensure compatible standards of
13    conduct toward the Subclass members, thus, making final injunctive and/or
14    declaratory relief appropriate with respect to the Subclass as a whole. Further,
15    because Defendant’s uniform practices result in similar, if not identical, injuries for
16    all Subclass members, Plaintiff’s challenge of those practices hinges on Defendant’s
17    conduct with respect to the Subclass, not on facts or law applicable only to Plaintiff.
18          28.    Predominance: The common questions of law and fact set forth above
19    go to the very heart of the controversy and predominate over any supposed
20    individualized questions. Irrespective of any given Class or Subclass member’s
21    situation, the answer to whether Defendant’s pre-report disclosure is unlawful is the
22    same for everyone—a resounding “yes” to that question—and it will be proven using
23    common evidence.
24          29.    Superiority and Manageability: A class action is superior to all other
25    methods of adjudicating the controversy. Joinder of all class members is impractical,
26    and the damages suffered by/available to the individual Class and Subclass members
27    will likely be small relative to the cost associated with prosecuting an action. Thus,
28    the expense of litigating an individual action will likely prohibit the Class and
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  1   Subclass members from obtaining effective relief for Defendant’s misconduct. In
  2   addition, there are numerous common factual and legal questions that could result in
  3   inconsistent verdicts should there be several successive trials. In contrast, a class
  4   action will present far fewer management difficulties, as it will increase efficiency
  5   and decrease expense. Further, class-wide adjudication will also ensure a uniform
  6   decision for the Class and Subclass members.
  7         30.    Plaintiff reserves the right to revise the definition of the Class and
  8   Subclass as necessary based upon information obtained in discovery.
  9                                          COUNT I
                             Violation of 15 U.S.C. § 1681b(b)(2)(A)(i)
10
                          (On Behalf of Plaintiff and the Disclosure Class)
11
            31.    Plaintiff incorporates by reference the foregoing allegations as if fully
12
      set forth herein.
13
            32.    The FCRA declares that:
14
            Except as provided in subparagraph (B), a person may not procure a
15          consumer report, or cause a consumer report to be procured, for
            employment purposes with respect to any consumer, unless—
16
            (i) a clear and conspicuous disclosure has been made in writing to the
17
            consumer at any time before the report is procured or caused to be
18          procured, in a document that consists solely of the disclosure, that a
            consumer report may be obtained for employment purposes . . . .
19
      15 U.S.C. § 1681b(b)(2)(A) (emphasis added).
20
            33.    The FCRA defines a consumer report as:
21
22          . . . any written, oral, or other communication of any information by a
            consumer reporting agency bearing on a consumers’ credit worthiness,
23          credit standing, cred-it capacity, character, general reputation, personal
24          characteristics, or mode of living which is used or excepted to be used
            or collected in whole or in part for the purpose of serving as a factor
25          establishing the consumer’s eligibility for . . .
26          (B) employment purposes . . .
27
      15 U.S.C. § 1681a(d)(1).
28
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  1         34.    Defendant’s background checks are consumer reports.
  2         35.    The pre-report disclosure that 7-Eleven provided to applicants and
  3   employees combines disclosures required for consumer reports with disclosures
  4   required for investigative consumer reports. That is, Defendant provides a single
  5   disclosure combining both the disclosure required for a standard consumer report as
  6   well as disclosures required for an investigative consumer report, including details
  7   regarding the nature and scope of any investigation such that the disclosure
  8   overwhelms the consumer report disclosure.
  9         36.    The disclosure and authorization also contain additional extraneous
 10   information about Sterling Talent Solutions and summaries of FCRA rights, as well
 11   as additional language purporting to authorize the preparation of reports by Sterling
 12   Talent Solutions. The authorization also purports to give consent to any party or
 13   agency contacted by 7-Eleven, Inc. to furnish information to it, and contains
 14   acknowledgements that the consumer has read and understood the disclosure and
 15   that they may have any employment offer revoked if unacceptable information is
 16   found in an investigative background inquiry or consumer report.
 17         37.    The disclosure and authorization that Defendant provided to Plaintiff
 18   and the Disclosure Class members willfully violated the FCRA by not being clear
 19   and conspicuous, by being unnecessarily duplicative, and by including extraneous
 20   information such that the disclosure cannot be said to “stand alone” in a document
 21   that consists solely of the disclosure. Plaintiff and the other class members wouldn't
 22   have authorized the reports had appropriate disclosures been provided.
 23         38.    Defendant procured consumer reports with respect to Plaintiff and the
 24   Disclosure Class members. The disclosures provided to Plaintiff were the same or
 25   substantially the same as the one provided to all Disclosure Class members. Thus,
 26   Defendant uniformly violated the FCRA rights of all Class members in the same way
 27   and, in the process, violated their right to information and their privacy rights as
 28   delineated by Congress.
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  1         39.    Defendant’s violation of 15 U.S.C. § 1681b(b)(2)(A)(i) was willful for
  2   at least the following reasons:
  3                (i)     The rule that FRCA disclosures be “clear and conspicuous” and
  4         part of a document consisting “solely” of that disclosure has been the law
  5         established for well over a decade.
  6                (ii)    Defendant is a large corporation who regularly engages outside
  7         counsel—it had ample means and opportunity to seek legal advice regarding
  8         its FCRA responsibilities. As such, any violations were made in conscious
  9         disregard of the rights of others.
 10                (iii)   Clear judicial and administrative guidance—dating back to at
 11         least the 1990s—regarding a corporation’s FCRA responsibilities exists and is
 12         readily available explaining that such disclosures must stand-alone. This
 13         readily-available guidance means Defendant either was aware of its
 14         responsibilities or plainly should have been aware of its responsibilities but
 15         ignored them and violated the FCRA anyway.
 16         40.    Plaintiff and the Disclosure Class are entitled to statutory damages of
 17   not less than $100 and not more than $1,000 for each of Defendant’s willful
 18   violations pursuant to 15 U.S.C. § 1681n(a)(1)(A).
 19         41.    Accordingly, under the FCRA, Plaintiff and the Disclosure Class seek
 20   statutory damages, reasonable cost and attorneys’ fees, and such other relief as the
 21   Court deems necessary, reasonable, and just.
 22                                        COUNT II
 23                   Violation of the California Unfair Competition Law
                             Cal. Bus. & Prof. Code § 17200 et seq.
 24                   (On Behalf of Plaintiff and the California Subclass)
 25         42.    Plaintiff incorporates by reference the foregoing allegations as if fully
 26   set forth herein.
 27
 28
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  1          43.   Defendant's failure to provide a clear and conspicuous disclosure and
  2   authorization under the FCRA that "stands alone" violated the unlawful prong of the
  3   UCL.
  4          44.   Defendant's violations are ongoing and continuing and will likely occur
  5   in the future absent an order from this Court enjoining 7-Eleven from continuing to
  6   violate the FCRA with respect to California residents.
  7          45.   As such, Plaintiff and the California Subclass members are entitled
  8   under the UCL to an Order enjoining 7-Eleven’s further violations of the FCRA and
  9   for corresponding declaratory relief.
 10                                 PRAYER FOR RELIEF
 11          WHEREFORE, Plaintiff Edwardo Munoz, individually and on behalf of the
 12   Class and Subclass, respectfully requests that this Court issue an order:
 13          A.    Certifying this case as a class action on behalf of the Class and Subclass
 14                defined above, appointing Edwardo Munoz as class representative and
 15                appointing his counsel as class counsel;
 16          B.    Declaring that Defendant’s actions, as set out above, constitute
 17                violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681b;
 18          C.    Awarding damages, including statutory and treble damages where
 19                applicable, to Plaintiff and the Class in amounts to be determined at
 20                trial;
 21          D.    Awarding injunctive and other equitable relief as is necessary to protect
 22                the interests of the Subclass, inter alia: (i) an order prohibiting
 23                Defendant from engaging in the wrongful and unlawful actions
 24                described herein; and (ii) requiring Defendant to provide proper
 25                disclosures;
 26          E.    Awarding Plaintiff and the Class and Subclass their reasonable
 27                litigation expenses and attorneys’ fees;
 28
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  1         F.    Awarding Plaintiff and the Class and Subclass pre- and post- judgment
  2               interest, to the extent allowable;
  3         G.    Providing such other injunctive and/or declaratory relief as necessary to
  4               protect the interests of Plaintiff and the Class and Subclass; and
  5         H.    Such further and other relief as the Court deems reasonable and just.
  6                                      JURY DEMAND
  7         Plaintiff requests a trial by jury of all claims that can be so tried.
  8
  9                                            Respectfully submitted,
 10
 11   Dated: July 9, 2018                      Edwardo Munoz, individually and on behalf
                                               of all others similarly situated,
 12
 13                                     By:     /s/ Patrick H. Peluso
                                               One of Plaintiff’s Attorneys
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